                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for want of prosecution.
A case management conference was scheduled on July 29, 2008, to consider Plaintiffs' appeal. On May 16, 2008, notice of the case management conference was sent to Plaintiffs at 23496 Lagarto, Mission Viejo, CA 92691, which was the address Plaintiffs provided to the court. The notice was not returned as undeliverable. Plaintiffs did not appear at the case management conference, and there was no explanation for Plaintiffs' failure to appear.
On July 29, 2008, the court sent Plaintiffs a letter, which explained the importance of diligently pursuing an appeal. That letter was not returned as undeliverable. The letter advised that if Plaintiffs did not provide a written explanation by August 12, 2008, for their failure to appear, the court would dismiss the appeal. As of this date, Plaintiffs have not contacted the *Page 2 
court. Under such circumstances, the court finds the appeal must be dismissed for want of prosecution. Now, therefore,
IT IS THE DECISION OF THIS COURT that this matter is dismissed.
  Dated this day of August 2008. *Page 1 